Case 2:04-Cr-20103-BBD Document 253 Filed 04/18/05 Page 1 of 2 Page|D 293

IN THE UNITED sTATEs DISTRICT coURT
FoR THE wESTERN DISTRICT oF TENNESSEE F"_ED m OpEN COURT

WESTERN DIVISION
DATE= 413-wes

 

* ‘nME: |O'-“IS F’ff"l
UNITED sTATEs oF AMERICA,
* INlTIALS: - '
Plaintiff,
'*'
0
vs. CR. NO. 04-201£3-0

ERIC MAURICE HOLLEY,

Defendant.

ORDER DISMISSING COUNTS
Upon the motion cf the United States, and for good cause
ehown, COunt(S) 2, 3, 4, 5 and 6 Of the indictment are hereby
DISMISSED.

SO ORDERED this /J; day Of April, 2005, at Memphis,

Tenneseee. Q;BM///

/ne HOnOrable Bernicev B Donald'

f 7
AV”7/7/4/:§7/K\
United States District Judge

   

PROV D:

¢@OSébh C. Murphy, i;J
ASSiStant United StateS Attorney

Western District of TenneSSee

 

Th|s document entered on the docket sheet In comp!ie='=_."=
with nme 55 and/or 32(b) FF\CFP on ' lC/'ij ` ,_

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 253 in
case 2:04-CR-20103 Was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

 

Joseph C. Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

J. Patten BroWn

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

